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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

     Civil Action No. 1:24-cv-03101-STV

     NINTENDO OF AMERICA INC.,

           Plaintiff,

     v.

     JESSE KEIGHIN, individually,

           Defendant.


               DECLARATION OF CAYMAN C. MITCHELL
        IN SUPPORT OF PLAINTIFF NINTENDO OF AMERICA INC.’S
       STATUS REPORT [14], MOTION FOR ENTRY OF DEFAULT [16],
    MINUTE ORDER [18], AND CLERK’S NOTE REGARDING DEFAULT [20]
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          I, Cayman C. Mitchell, declare as follows:

          1.      I am over the age of 18 and competent to testify to matters in this Declaration. I

make this Declaration on the basis of my personal knowledge.

          2.      I am an attorney at the law firm Jenner & Block LLP, and am one of the attorneys

representing Plaintiff Nintendo of America Inc. (“Nintendo”) in this action. I submit this

Declaration (1) pursuant to the Court’s January 24, 2025 Minute Order, ECF No. 18, and in support

of Nintendo’s Status Report, ECF No. 14; and (2) pursuant to the Clerk’s January 27, 2025 Note

Regarding Default, ECF No. 20, and in support of Nintendo’s Motion for Entry of Default, ECF

No. 16.

   I.          Proof of Service Referenced In Nintendo’s Status Report

          3.      Pursuant to the Court’s Order Granting Nintendo’s Motion for Substituted Service,

ECF No. 13 (the “Order”), Nintendo engaged two process servers to serve process upon the

substituted persons authorized by the Order: Melina Foy at Mercantile St., Castle Rock, CO

80109; Mary Twist, at E. Batavia Dr., Aurora, CO 80011; and Tracy Harsch, at S. Zeno Way,

Aurora, CO 80017.

          4.      On December 20, 2024, the process servers delivered true copies of the Summons,

Complaint, and Order to the addresses identified in Paragraph 3, as set forth in the attached

affidavits. See Exhibits A–C.

          5.      In addition, and pursuant to the Order, on December 19, 2024, I caused true copies

of the Summons, Complaint, and Order to be sent via UPS Next Day Air with delivery

confirmation, signature required, to: Jesse Keighin c/o Mary Twist at E. Batavia Drive, Aurora,

CO 80011 (tracking 1Z05V0A32491147100); and Jesse Keighin c/o Melina Foy at Mercantile

Street, Castle Rock, CO 80109 (tracking 1Z05V0A32496499703). As of the signing of this




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declaration, the service package to the Batavia Drive address was delivered successfully; the

service package to the Mercantile Street address was refused and is awaiting pickup at a nearby

UPS facility.

         6.      On December 19, 2024, my colleague sent a true copy of the Summons, Complaint,

and Order via email to Defendant at everygameguru@gmail.com. See Exhibit D.

         7.      In addition to the evidence of Defendant’s actual notice set forth in Nintendo’s

Motion for Substituted Service, ECF No. 11 at 7–12, I understand from my client that on December

19, 2024, the day after the Court issued its Order and the day my colleague emailed Defendant a

copy of the Summons, Complaint and Order, Defendant scrubbed his Facebook profile, including

of the posts and photos that were identified in Nintendo’s motion.

   II.        Statement Regarding Defendant’s Military Status

         8.      Upon information and belief—including based on the undersigned’s review of

public records concerning Defendant and on my client’s review of Defendant’s social media

profiles—the Defendant is not and has not been a servicemember.



         I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


         Executed on this 29th day of January, 2025, in New York, New York.




                                                         Cayman C. Mitchell




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